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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


____________________________________
                                    :
UNITED STATES OF AMERICA            :               CRIMINAL NO. 3:17-CR-147-JBA
                                    :
                                    :
                  v.                :
                                    :
                                    :               APRIL 1, 2019
NATALIE LEVINE                      :
____________________________________:

                          JOINT MOTION FOR CONTINUANCE

               The parties, by and through Defendant, Natalie Levine’s, undersigned counsel,

hereby moves this Court to continue the sentencing of Ms. Levine, which is presently set for

May 24, 2019. In support of this Motion, the parties state:

               1.     This is the Defendant’s fifth Motion for Continuance.


               2.     The reason for this request is that Assistant U.S. Attorney Douglas

Morabito has informed counsel for Ms. Levine that he has a pre-existing conflict and is unable to

appear on May 24, 2019.


               3.     It is the request of the Government that Ms. Levine’s sentencing be

postponed for one month and Defendant is in agreement with this request.


               4.     The undersigned further represents that the continuance being sought is by

agreement with the U.S. Probation Officer assigned to this case, Paul Collette. Defendant has

provided all requested information to the U.S. Probation Officer.




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                           MOVANT,
                           NATALIE LEVINE


                     By:   /s/ Thomas M. Gallagher

                           Thomas M. Gallagher (phv09119)
                           Allison E. DeLaurentis (phv09115)
                           PEPPER HAMILTON LLP
                           3000 Two Logan Square
                           18th and Arch Streets
                           Philadelphia, PA 19103
                           gallaghert@pepperlaw.com
                           delaurea@pepperlaw.com
                           Telephone: (215) 981-4000
                           Facsimile: (800) 443-7870


                           Attorneys for Defendant Natalie Levine




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                                 CERTIFICATE OF SERVICE

               I hereby certify that on April 1, 2019, a copy of the foregoing Motion was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system, or

by mail to those listed below who are unable to accept electronic filing, as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                Respectfully submitted,

                                                /s/ Allison E. DeLaurentis ________

                                                PEPPER HAMILTON LLP
                                                3000 Two Logan Square
                                                18th and Arch Streets
                                                Philadelphia, PA 19103
                                                delaurea@pepperlaw.com
                                                Telephone: (215) 981-4000
                                                Facsimile: (800) 443-7870




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